Petition for Writ of Mandamus Denied and Memorandum Majority and
Dissenting Opinions filed August 15, 2024.




                                     In The

                    Fourteenth Court of Appeals

                               NO. 14-24-00445-CR



                   IN RE DARRELL WILLIAMS, Relator


                         ORIGINAL PROCEEDING
                           WRIT OF MANDAMUS
                              174th District Court
                             Harris County, Texas
                        Trial Court Cause No. 1491754

                  MEMORANDUM MAJORITY OPINION

      On Monday, June 17, 2024, relator Darrell Williams filed a petition for writ
of mandamus in this court. See Tex. Gov’t Code Ann. § 22.221; see also Tex. R.
App. P. 52. In the petition, relator asks this court to compel the Honorable Hazel
B. Jones, presiding judge of the 174th District Court of Harris County, to rule on
“a motion for improper sentence.”
      To be entitled to mandamus relief, a relator must show (1) the relator has no
adequate remedy at law for obtaining the relief sought; and (2) what the relator
seeks to compel involves a ministerial act rather than a discretionary act. In re
Flanigan, 578 S.W.3d 634, 635 (Tex. App.—Houston [14th Dist.] 2019, orig.
proceeding) (citing In re Powell, 516 S.W.3d 488, 494–95 (Tex. Crim. App. 2017)
(orig. proceeding)).
      A trial court has a ministerial duty to consider and rule on motions properly
filed and pending before it, and mandamus may issue to compel the trial court to
act. Flanigan, 578 S.W.3d at 635. “A trial court is required to rule on a motion
within a reasonable time after the motion has been submitted to the court for a
ruling or a ruling on the motion has been requested.” Id. at 636 (quoting In re
Foster, 503 S.W.3d 606, 607 (Tex. App.—Houston [14th Dist.] 2016, orig.
proceeding)).
      As the party seeking relief, relator has the burden of providing this court
with a sufficient record to establish relator's right to mandamus relief. Flanigan,
578 S.W.3d at 636; see Tex. R. App. P. 52.7(a)(1) (relator must file with petition
“a certified or sworn copy of every document that is material to the relator's claim
for relief and that was filed in any underlying proceeding”); Tex. R. App. P. 52.3(j)
(relator must certify “that every factual statement in the petition is supported by
competent evidence included in the appendix or record”).
      To be entitled to mandamus relief for a trial judge's failure to rule on a
motion within a reasonable time, the record must show both that the motion was
filed and brought to the attention of the judge for a ruling. Id. To establish that the
motion was filed, relator must provide either a file stamped copy of the motion or
other proof that the motion was in fact filed and is pending before the trial court.
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Id. Merely filing a motion with a court clerk does not show that the motion was
brought to the trial court's attention for a ruling because the clerk's knowledge is
not imputed to the trial court. In re Ramos, 598 S.W.3d 472, 473 (Tex. App.—
Houston [14th Dist.] 2020, orig. proceeding).
      Relator is not entitled to mandamus relief because he has not provided this
court with any mandamus record. We deny relator’s petition for writ of mandamus.




                                PER CURIAM

Panel consists of Chief Justice Christopher, Justices Jewell and Spain.
Do Not Publish — Tex. R. App. P. 47.2(b).




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